Case 1:21-cr-00382-PLF

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA
v.
CHRISTOPHER WARNAGIRIS,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 21-MJ-423

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. §§ 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in a
Capitol Building)

SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER

WARNAGIRIS, committed and attempted to commit an act to obstruct, impede, and interfere
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with a law enforcement officer, that is, Officer A.W., an officer from the United States Capitol
Police, lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct

and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 23 1 (a)(3))
‘COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere,
CHRISTOPHER WARNAGIRIS, attempted to, and did, corruptly obstruct, influence, and
impede an official proceeding, that is, a proceeding before Congress, specifically, Congress’s
certification of the Electoral College vote as set out in the Twelfth Amendment of the Constitution
of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did forcibly assault, resist, oppose, impede, intimidate, and interfere with an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, Officer A.W., an officer from the United States Capitol Police, while such officer
or employee was engaged in or on account of the performance of official duties, and where the
acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.
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(Assaulting, Resisting, or Impeding Certain Officers in violation of Title 18, United
States Code, Sections 11 1(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and ©
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, did knowingly engage in any act of physical violence against any person and

property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
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restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, willfully and knowingly engaged in disorderly and disruptive conduct within the
' United States Capitol Grounds and in any of the Capitol Buildings with the intent to impede,
disrupt, and disturb the orderly conduct of a session of Congress and either House of Congress,
and the orderly conduct in that building of a hearing before or any deliberation of, a committee of
Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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COUNT NINE
On or about January 6, 2021, within the District of Columbia, CHRISTOPHER
WARNAGIRIS, willfully and knowingly paraded, demonstrated, and picketed in any United
States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
